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7                             UNITED STATES DISTRICT COURT
8                         CENTRAL DISTRICT OF CALIFORNIA
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                                             )
10                                           ) Case No.: CV 20-11053-CJC(SKx)
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     ROY YIUN,                               )
12                                           )
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                 Plaintiff,                  )
                                             )
14
           v.                                ) JUDGMENT
                                             )
15                                           )
     840 FAIRFAX OWNER LLC and               )
16                                           )
     DOES 1 through 10,                      )
17                                           )
                                             )
18               Defendants.                 )
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     Case 2:20-cv-11053-CJC-SK Document 17 Filed 06/07/21 Page 2 of 2 Page ID #:94




1          This matter came before the Court on Plaintiff’s motion for default judgment. On
2    June 7, 2021, the Court granted Plaintiff’s motion. In accordance with the Court’s Order,
3    IT IS HEREBY ORDERED that judgment is entered in favor of Plaintiff for
4    (1) injunctive relief requiring Defendant to provide a parking space and access aisle in
5    compliance with the ADA Accessibility Guidelines and (2) attorneys’ fees and costs of
6    $1,640.00.
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8          DATED:       June 7, 2021
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10                                                __________________________________
11                                                       CORMAC J. CARNEY
12                                                UNITED STATES DISTRICT JUDGE
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